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                                                                                   2019 May-22 PM 03:33
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

TOMEKA RUFFIN, et al.,                  *
                                        *
              Plaintiffs,               *
                                        *            CIVIL ACTION NO.
                                        *            _________________
v.                                      *
                                        *
AMERICAN HONDA MOTOR                    *
CO., INC et al.,                        *
                                        *
              Defendants.               *


      DEFENDANT AMERICAN HONDA MOTOR CO.’S NOTICE OF REMOVAL


      Defendant, AMERICAN HONDA MOTOR CO., INC. (“AHM”), and under 28

U.S.C. § 1332, 1441, and 1446 give notice of its removal of the civil action Tomeka

Ruffin, et. al. v. American Honda Motor Co., Inc., et. al., Case No. 68-CV-2019-

900079 filed in the Circuit Court of Jefferson County, Alabama, Bessemer Division,

to the United States District Court for the Northern District of Alabama, Southern

Division. A copy of all prior pleadings filed in the Circuit Court of Jefferson County,

Bessemer Division is attached as Exhibit A. As grounds for this Notice, AHM states

as follows:




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I.     INTRODUCTION & BACKGROUND

       1.     Plaintiff Tomeka Ruffin filed this lawsuit individually, and as mother

and next friend of her three (3) minor children against Queneshia Breund Lindsey

(“Lindsey”), Kameron Dion Ruffin (“Kameron Ruffin”), AHM, Honda Motor Co.,

Ltd. (“HMC”), Honda of America Mfg., Inc. (“HAM”), Honda R&D Co., Ltd.

(“HRD”)1, and Fictitious Defendants, including Fictitious Defendant “A”. See

Exhibit A, Complaint.

       2.     AHM was served on February 15, 2019, and filed its Answer on April

23, 2019. See Exhibit A, AHM Service Return and Answer of AHM.

       3.     On April 24, 2019, Plaintiff filed a Motion for Voluntary Dismissal for

all claims against Defendants Lindsey and Kameron Ruffin pursuant to ALA. R. CIV.

P. 41. See Exhibit A, Motion for Voluntary Dismissal filed April 24, 2019.

       4.     The Circuit Court of Jefferson County, Bessemer Division, entered an

Order granting Plaintiff’s Motion for Voluntary Dismissal on April 24, 2019, and

dismissed Plaintiff’s claims against Defendants Lindsey and Kameron Ruffin. See

Exhibit A, April 24, 2019 Order Granting Plaintiff’s Motion for Voluntary

Dismissal.




1
 AHM, Honda Motor Co., Ltd., Honda of America Mfg., Inc., and Honda R&D Co., Ltd. are sometimes
collectively referred to as “Honda.”
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      5.      On May 16, 2019, Plaintiff filed a Motion for Voluntary Dismissal of

all claims against Defendants HMC, HAM, and HRD pursuant to ALA. R. CIV. P. 41.

See Exhibit A, Motion for Voluntary Dismissal filed May 16, 2019.

      6.      The Circuit Court of Jefferson County, Bessemer Division, entered an

Order granting Plaintiff’s Motion for Voluntary Dismissal on May 16, 2019, and

dismissed Plaintiff’s claims against Defendants HMC, HAM, and HRD. See Exhibit

A, May 16, 2019 Order Granting Plaintiff’s Motion for Voluntary Dismissal.

      7.      The Complaint alleges Plaintiff’s minor children suffered injuries as a

result of a motor vehicle accident that occurred on May 2, 2018, while occupants in

a 2001 Honda Accord (“Subject Vehicle”). See Exhibit A, Complaint ¶ 15(a)-(c)

and 79.

      8.      The Complaint does not allege a specific damage amount but brings a

claim against AHM under the Alabama Extended Manufacturer’s Liability Doctrine

(“AEMLD”) and claims of negligence and wantonness. See id. ¶¶ 72-86. Plaintiff

also seeks punitive damages. See id.

      9.      Count IV of the Complaint alleges liability under the AEMLD and

specifically contends the Subject Vehicle “was defective in its design, manufacturer

and/or the warnings that accompanied it.” See id. ¶ 77.




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      10.    Count V of the Complaint alleges Honda was negligent “in the design,

manufacture, testing, warnings, distribution, sale and/or failure to recall” the Subject

Vehicle. See id. ¶ 81.

      11.    Count VI of the Complaint alleges Honda was wanton “in the design,

manufacture, testing, warnings, distribution, sale and/or failure to recall” the Subject

Vehicle. See id. ¶ 81.

      12.    As originally filed, the underlying action was not removable under 28

U.S.C. § 1441(a) because “original jurisdiction” was lacking. The Complaint

included exclusively state-law claims and diversity of citizenship was lacking

between Plaintiff and former Defendants Lindsey and Kameron Ruffin, both of

whom were Alabama citizens. See Exhibit A, Complaint ¶¶ 2-3.

      13.    As result of Plaintiff’s voluntary dismissal of former Defendants

Lindsey and Kameron Ruffin, complete diversity now exists between Plaintiff, an

Alabama Citizen, and AHM, a citizen of California.

II.   GROUNDS FOR REMOVAL

      14.    This case is properly removed to this Court under 28 U.S.C. §§ 1332,

1441, and 1446. This Court has original jurisdiction based upon diversity of

citizenship under 28 U.S.C. § 1332, and under 28 U.S.C. § 1441(b), because

diversity of citizenship exists between Plaintiff and AHM and the amount in

controversy exceeds $75,000.00, exclusive of interest and costs.


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      A.      THE REMAINING PARTIES ARE DIVERSE

      15.     Plaintiff is a citizen of Alabama. See id. ¶ 1.

      16.     The Complaint alleges AHM is believed to be a foreign corporation.

See id. ¶ 4. AHM is now, and was at the time the Complaint was filed, a California

corporation with its principal place of business in California. Therefore, AHM is

deemed a citizen of California for diversity purposes. See 28 U.S.C. § 1332(c)(1).

      17.     Fictitious Defendants, including Fictitious Defendant A, citizenship

should be disregarded for purposes of removal. See 28 U.S.C. § 1441(b).

      18.     The only parties to this action at this time are the Plaintiff, a citizen of

Alabama, and AHM, a citizen of California. The diversity-destroying citizenship of

former Defendants Lindsey and Kameron Ruffin are now immaterial due to the fact

Plaintiff voluntarily dismissed them. See Insinga v. LaBella, 845 F. 2d 252 (11th Cir.

1988); Barron v. Werner Enters., Inc., 462 F. Supp. 2d 1217, 1219 (M.D. Ala. 2006)

(“Under the voluntary-involuntary rule, a case can be removed under diversity

jurisdiction ‘if the resident defendant was dismissed from the case by a voluntary act

of the plaintiff, but if the dismissal was the result of either the defendant’s or the

court’s action against the wish of the plaintiff, the case could not be removed.’”

(quoting Weems v. Louis Dreyfus Corp., 380 F. 2d 545, 546 (5th Circ. 1967).

Therefore, complete diversity exists between the only remaining parties to this

action.


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      B.       THE AMOUNT IN CONTROVERSY REQUIREMENT IS MET

      19.      Where, as here, a plaintiff makes “an unspecified demand for damages

in state court, a removing defendant must prove by a preponderance of the evidence

that the amount in controversy more likely than not exceeds the . . . jurisdictional

requirement.” Roe v. Michelin N. Am., Inc., 613 F.3d 1058, 1061 (11th Cir. 2010)

(quoting Tapscott, 77 F.3d at 1357). “In cases where plaintiff has made such an

unspecified damages demand, ‘a lower burden of proof is warranted because there

is simply no estimate of damages to which a court may defer.’” Moss v. Voyager Ins.

Cos., 43 F. Supp. 2d 1298, 1301 (M.D. Ala. 1999) (quoting Tapscott, 77 F.3d at

1356-57). “In some cases, this burden requires the removing defendant to provide

additional evidence demonstrating that removal is proper.” Roe, 613 F.3d at 1061

(emphasis added) (quoting Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744 (11th

Cir. 2010)). In other cases, however, it may be “facially apparent” from the pleading

itself, or “readily deducible from them,” that the amount in controversy exceeds the

jurisdictional minimum, even when the complaint does not claim a specific amount

of damages. Id. (first quote quoting Pretka, 608 F.3d 744); Roe v. Michelin N. Am.,

Inc., 637 F. Supp. 2d 995, 998 (M.D. Ala. 2009), aff’d, 613 F.3d 1058 (11th Cir.

2010) (second quote quoting Lowery v. Ala. Power Co., 483 F.3d 1184, 1211 (11th

Cir. 2007)).




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       20.   “If a defendant alleges that removability is apparent from the face of

the complaint, the district court must evaluate whether the complaint itself satisfies

the defendant’s jurisdictional burden. In making this determination, the district court

is not bound by the plaintiff’s representations regarding its claim . . . .” Roe, 613

F.3d    at   1061.   Rather,    the   district   court   should make     “‘reasonable

deductions, reasonable inferences, or other reasonable extrapolations’ from the

pleadings to determine whether it is facially apparent that a case is removable. Put

simply, a district court need not ‘suspend reality or shelve common sense in

determining whether the face of a complaint. . . establishes the jurisdictional

amount.’” See id. at 1061-62 (quoting Pretka, 608 F.3d at 754, 770).

       21.    Here, Plaintiff claims Honda (a) designed, manufactured, warned,

distributed and/or sold the Subject Vehicle in a defective and unreasonably

dangerous condition that proximately caused injuries to Plaintiff’s three (3) minor

children (b) wantonly designed, manufactured, tested, warned, distributed, sold,

and/or failed to recall the Subject Vehicle proximately resulting in injuries to

Plaintiff’s two (2) minor children. See Complaint, ¶¶ 72-77, 83-85. Based on this

alleged conduct, Plaintiff seeks compensatory and punitive damages together and

separately on behalf of her two (2) minor children. In the event Plaintiff prevails

based on these allegations, the punitive damages award to punish wantonness—or

“[c]onduct which is carried on with a reckless or conscious disregard of the rights


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or safety of others”2—and deter other vehicle designers, manufacturers, distributors,

and/or sellers from such conscious disregard would certainly be in excess of

$75,000.

         22.     Here, Plaintiff alleges the minor Plaintiffs suffered severe injuries,

including physical pain and emotional distress. Plaintiff alleges two (2) of her minor

children were injured by glass getting into their eyes resulting in serious and

permanent injuries and, blindness in one eye to one minor. Plaintiff also claims the

two (2) minor children will suffer extreme physical pain and emotional distress the

rest of their lives. Plaintiff also seeks compensatory and punitive damages on behalf

of her minor children. See Exhibit A, Complaint ¶¶ 15(a)-(c), 79, and ad damnum

clauses in Counts IV, V, and VI.

         23.     It is “crystal clear” that “at the moment a state court plaintiff seeks

unspecified damages of various kinds, such as punitive damages, or emotional

distress, or attorneys’ fees, the claim automatically is deemed to exceed $75,000 and

becomes removable under 28 U.S.C. § 1332.” Jones v. Hartford Fire Ins. Co., 2013

WL 550419, at *1 (N.D. Ala. Feb. 7, 2013) (citing Smith v. State Farm Fire &

Casualty Company, 868 F.Supp.2d 1333 (N.D. Ala. 2012)); Tucker v. Northbrook

Indem. Co., 2013 WL 5961095, at *1 (N.D. Ala. Nov. 7, 2013) (“The ‘legal




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    Ala. Code § 6-11-20(b)(3). (emphasis added)
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certainty’ that there could not be sufficient punitive damages to take the recovery

beyond $75,000 is virtually impossible to demonstrate.”).

              In Smith, the Court stated:

              The court is willing to go so far as to inform plaintiffs ... who
              want to pursue claims against diverse parties in a state court
              seeking unspecified damages…, such as punitive damages …,
              [that they] must in their complaint formally and expressly
              disclaim any entitlement to more than $74,999.99, and
              categorically state that plaintiff will never accept more.

Smith, 868 F.Supp.2d at 1335.

        24.   “Where there is the reasonable possibility of an award of punitive

damages greater than the jurisdictional minimum, as the court may determine from

its ‘judicial experience and common sense,’ removal is proper.” Taylor v. Alabama

CVS Pharmacy, L.L.C., 2017 WL 3009695, at *2 (N.D. Ala. July 14, 2017) (quoting

Roe, 613 F.3d at 1065).

        25.   Because Plaintiff seeks punitive damages, it is “facially apparent” that

the amount in controversy exceeds $75,000.00. See Complaint, at ad damnum

clauses.in Counts IV, V, and VI.

        26.   Accordingly, the amount in controversy is satisfied. See 28 U.S.C. §

1332.

III.    THE PROCEDURAL REQUIREMENTS ARE SATISFIED

        27.   Because §1332 jurisdiction now exists, this case is removable to the

United States District Court for the Norther District of Alabama, Southern Division,
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pursuant to §1441(a). Defendants’ removal is timely filed within thirty (30) days of

receiving the Circuit Court’s April 24, 2019 order dismissing the non-diverse

Defendants, and within one (1) year of the commencement of this action. See 28

U.S.C. § 1446(b) and (c).

      28.    The Circuit Court of Jefferson County, Alabama, Bessemer Division,

the state court in which this action was filed, is within the jurisdiction of the United

States District Court for the Northern District of Alabama, Southern Division. See

28 U.S.C. §§1446(a), 1441(a).

      29.    A copy of all records and proceedings from the state court record,

including a copy of all process, pleadings, and discovery served upon the Defendants

are attached as required by 28 U.S.C. §§1446(a). See Exhibit A.

      30.    Written notice of the filing of this Notice of Removal is being served

upon Plaintiff’s counsel, and a copy is being promptly filed in the Circuit Court of

Jefferson County, Alabama, Bessemer Division, where the action was pending. See

28 U.S.C. §§1446(d).

      31.    AHM has satisfied the procedural requirements for removal, and this

Court has subject matter jurisdiction under 28 U.S.C. §§ 1332, 1441, and 1446.

      WHEREFORE, PREMISES CONSIDERED, AHM respectfully moves the

State Court action from the Circuit Court of Jefferson County, Alabama, Bessemer

Division, to this Court under §§ 1332, 1441, and 1446.


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                                       s/ J. Patrick Strubel
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                         CERTIFICATE OF SERVICE

      I hereby certify that I served the foregoing I served the above and foregoing
CM/ECF filing and/or electronic mail on the following counsel of record on May
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                                              s/ J. Patrick Strubel
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